                                                                                                     Case
                                                                                                      Case2:16-cr-00030-JAD-CWH
                                                                                                            2:16-cr-00030-JAD-CWH Document
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                                                                                                     1   KATHLEEN BLISS, ESQ.
                                                                                                         Nevada Bar No. 7606
                                                                                                     2   kb@kathleenblisslaw.com
                                                                                                         JASON HICKS, ESQ.
                                                                                                     3   Nevada Bar No. 13149
                                                                                                         jh@kathleenblisslaw.com
                                                                                                     4   KATHLEEN BLISS LAW PLLC
                                                                                                         400 S. 4th St., Suite 500
                                                                                                     5   Las Vegas, Nevada 89101
                                                                                                         Telephone: 702.793.4202
                                                                                                     6   Facsimile: 702.793.4001

                                                                                                     7   Attorneys for Juan Almeda-Vasquez

                                                                                                     8                                 UNITED STATES DISTRICT COURT
                                                                                                     9                                        DISTRICT OF NEVADA
                                                                                                    10     UNITED STATES OF AMERICA,                          CASE NO.: 2:16-cr-0030-JAD-CWH
                                                                                                    11                        Plaintiff;
                                                                                                                                                              STIPULATION TO CONTINUE
KATHLEEN BLISS LAW PLLC

                                                       TEL – (702) 793.4202; FAX – (702) 793.4001




                                                                                                    12           vs.                                          SENTENCING AND PROPOSED ORDER
                          LAS VEGAS, NEVADA 89101




                                                                                                    13     JUAN ALMEDA-VASQUEZ, a/k/a Everado
                           400 S. 4TH ST., SUITE 500




                                                                                                                                                              (First request)
                                                                                                           Hernandez-Ulloa; a/k/a Bryan Estrada-
                                                                                                    14     Murillo; a/k/a Juan Carlos Azpeitia-Castillo;
                                                                                                           a/k/a Juanjo Cruz-Hernandez; a/k/a “Marco”
                                                                                                    15

                                                                                                    16                        Defendant.

                                                                                                    17
                                                                                                                Defendant Juan Almeda-Vasquez, a/k/a Everado Hernandez-Ulloa (“defendant”), by and
                                                                                                    18
                                                                                                         through his counsel of record, Kathleen Bliss, Esq., of Kathleen Bliss Law PLLC; and the United
                                                                                                    19
                                                                                                         States of America, by and through Assistant United States Attorney Susan Cushman, hereby
                                                                                                    20
                                                                                                         stipulate and request that the Court vacate defendant’s sentencing hearing currently set for
                                                                                                    21
                                                                                                         December 5, 2016, and continue it to a later time convenient to the Court, but not less than forty-
                                                                                                    22
                                                                                                         five (45) days from the current setting. This stipulation is made and based upon the following:
                                                                                                    23
                                                                                                                 1. On September 7, 2016, defendant entered a plea of guilty to counts one and three of
                                                                                                    24
                                                                                                                       the Indictment charging him with conspiracy to distribute and possess with intent to
                                                                                                    25
                                                                                                                       distribute at least 100 grams of a mixture and substance containing a detectable
                                                                                                    26
                                                                                                                       amount of heroin in violation of 21 U.S.C. § 841(a)(1), 841(b)(1)(B)(i), and 846; and
                                                                                                    27
                                                                                                                       conspiracy to commit money laundering in violation of 18 U.S.C. § 1956(h). ECF
                                                                                                    28

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                                                                                                     1
                                                                                                                    No. 117.
                                                                                                     2
                                                                                                                2. The plea agreement contemplates a two level reduction for a group plea (Caro). ECF
                                                                                                     3
                                                                                                                    No. 115 at p. 7.
                                                                                                     4
                                                                                                                3. Additional time is required in order to finalize the group plea amongst all co-
                                                                                                     5
                                                                                                                    defendants. Accordingly, counsel requests a continuance of at least forty-five (45)
                                                                                                     6
                                                                                                                    days.
                                                                                                     7
                                                                                                                4. Defendant is in custody pending sentencing, but does not object to this continuance.
                                                                                                     8
                                                                                                                5. The additional time requested by this stipulation is reasonable pursuant to
                                                                                                     9
                                                                                                                    Fed.R.Crim.P. Rule 32(b)(2), which states that the “court may, for good cause,
                                                                                                    10
                                                                                                                    change any time limits prescribed [for sentencing] in this rule.” Furthermore, a delay
                                                                                                    11
                                                                                                                    in sentencing does not implicate or undermine the defendant’s speedy trial rights
KATHLEEN BLISS LAW PLLC

                                                       TEL – (702) 793.4202; FAX – (702) 793.4001




                                                                                                    12
                                                                                                                    under the United States Constitution. See Betterman v. Montana, __ U.S. __, 136
                          LAS VEGAS, NEVADA 89101




                                                                                                    13
                           400 S. 4TH ST., SUITE 500




                                                                                                                    S.Ct. 1609, 1617-1618 (2016).
                                                                                                    14
                                                                                                                6. This is the first request for a continuance of the sentencing. The additional time
                                                                                                    15
                                                                                                                    requested herein is not sought for purposes of delay.
                                                                                                    16
                                                                                                                7. Denial of this request for a continuance would deny counsel sufficient time to
                                                                                                    17
                                                                                                                    effectively and thoroughly prepare for sentencing, taking into account due diligence.
                                                                                                    18
                                                                                                                    Accordingly, a denial of this request for continuance could result in a miscarriage of
                                                                                                    19
                                                                                                                    justice.
                                                                                                    20
                                                                                                         Dated this 29th day of November 2016.
                                                                                                    21

                                                                                                    22   /s/ Susan Cushman             x                     /s/ Kathleen Bliss____________
                                                                                                         SUSAN CUSHMAN                                           KATHLEEN BLISS
                                                                                                    23   Counsel for the United States                           Counsel for Juan Almeda-Vasquez
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                                                                                                     1                                              ORDER
                                                                                                     2          Based upon the stipulation of the parties, and good cause appearing, it is hereby

                                                                                                     3   ORDERED that defendant’s sentencing hearing currently set for December 5, 2016, be, and the

                                                                                                     4   same hereby is, VACATED.

                                                                                                     5          IT IS FURTHER ORDERED that the sentencing hearing is reset for January
                                                                                                                                                                               ______________,
                                                                                                                                                                                       23, 2017,
                                                                                                     6   at the hour
                                                                                                         20___, at theofhour
                                                                                                                          11:00  a.m.
                                                                                                                             of ________ in courtroom ____.

                                                                                                     7

                                                                                                     8   DATED
                                                                                                         DATED:this 29th day of November, 2016.
                                                                                                                ________________

                                                                                                     9
                                                                                                                                                    _________________________________
                                                                                                    10                                              HONORABLE JENNIFER A. DORSEY
                                                                                                    11                                              UNITED STATES DISTRICT JUDGE
KATHLEEN BLISS LAW PLLC

                                                       TEL – (702) 793.4202; FAX – (702) 793.4001




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                          LAS VEGAS, NEVADA 89101




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                           400 S. 4TH ST., SUITE 500




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